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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MISSOURI
                                    EASTERN DISTRICT


  WILLIE RAY,
                              Plaintiff,


  v.
                                                           Cause No: 4:17-CV-2534 CAS

  CENTENE MANAGEMENT COMPANY,
                              Defendant.




                             NOTICE OF VOLUNTARY DISMISSAL

        PLEASE NOTE that Plaintiff hereby voluntarily dismisses this civil action with prejudice.

Respectfully submitted,

THE TATE LAW FIRM, LLC

/s/ Rufus J. Tate, Jr.___________
Rufus J. Tate, Jr. 46993
230 Bemiston Avenue, Suite 1470
Clayton, MO 63105
314.726.6495 Office
314.726.0424
tatelawfirm@gmail.com

                                      Certificate of Service

        I hereby certify that on May 22, 2018, I delivered a copy of the foregoing Notice of

Voluntary Dismissal to all counsel of record.

/s/ Rufus J. Tate, Jr.
